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UNITED STATES DISTRICT COURT JAN 1 0 2020
WESTERN DISTRICT OF TEXAS LerRiGT CLERK
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AUSTIN DIVISION joLERIGU Fp OF TEXAS
DEPUTY
UNITED STATES OF AMERICA, : be
§
vs § CRIMINAL NO. 1:18-CR-346-RP
RODNEY GLENN GREEN, ;
a.k.a. Rodney Glen Fayson, §
Defendant. :

JOINT MOTION TO ADMIT A STIPULATION

 

The Government and defense have conferred and agreed to a factual stipulation. The
parties therefore ask that the Court enter the stipulation below into evidence in this case and instruct

the jury to consider it as true and correct without the need for additional evidence.
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Stipulation:
The parties agree that the following facts are true and correct.
1. On January 8, 2020, Cassidy Gamez testified in part that:

a. She did not receive a phone call from law enforcement regarding Green’s storage
locker.

b. She saw one lock on Green’s storage locker.

‘c. She believed that there was never a time when two locks were on the door of
Green’s storage locker.

d. She did not go with law enforcement when the search warrant was executed on
Green’s storage locker.

Respectfully submitted,

JOHN F. BASH
UNITED STATES ATTORNEY

By: :
/S/

MATT HARDING

GABRIEL COHEN

Assistant United States Attorneys

KA Nha kee
RODNEY GLENN GREEN
Defendant, proceeding pro se
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CERTIFICATE OF SERVICE

Thereby certify that a copy of the foregoing Government’s Motion has been hand-delivered
on January 10, 2020 to pro se defendant Rodney Glen Green.

sf
Matt Harding
Assistant United States Attorney
